Case 2:05-cr-20212-SH|\/| Document 16 Filed 06/14/05 Page 1 of 2 Page|D 16

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EJUHIH Nli=EB

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE L'_,.
Western Division

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UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20212-1-Ma

DAVID PATTERSON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT
Upon motion of the Government, it is ORDERED that a detention hearing is set for
THURSDAY, JUNE 16, 2005 at 2:30 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, 9"‘ Floor, United States Courthouse and Federal Building, l 6'7 North
Main, Mernphis, TN. Pending this hearing, the defendant shall be held in custody by the United

States Marshal and produced for the hearing.

Date: June l3, 2005

 

v

rU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

‘lf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (|) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten1
injure, or intimidate a prospective witness or juror.

AO 470 (BIBS) Order of Ternporary Detemion

T.nis document entered on the docket sheet in oomp!iance /é

with Ru|e 55 and/or 32(b) FF?CrP on
-____...._.______

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-202]2 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

